                                                                                 Case 3:08-cv-02912-JSW Document 206 Filed 06/17/10 Page 1 of 1



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                                                                          4                             UNITED STATES DISTRICT COURT
                                                                          5                                    Northern District of California
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                                                                          7    NUANCE COMMUNICATIONS, INC.,
                                                                          8                          Plaintiffs,                       No. C 08-2912 JSW (MEJ)
                                                                                      v.
                                                                          9                                                            DISCOVERY ORDER RE MAY 24,
                                                                               ABBYY SOFTWARE HOUSE et al.,                            2010 JOINT LETTER [Dkt. #198]
                                                                         10
                                                                                                 Defendants.
                                                                         11    _____________________________________/
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UNITED STATES DISTRICT COURT
                               For the Northern District of California




                                                                         13          Before the Court is the joint discovery dispute letter filed by the parties on May 24, 2010.
                                                                         14   (Dkt. #198.) The undersigned will withhold ruling on this dispute until Judge White acts on the June
                                                                         15   14, 2010 Recommendation of the Special Master. (Dkt. #205.) The parties shall contact Brenda
                                                                         16   Tolbert, Courtroom Deputy, at (415) 522-4708 and request that she alert the undersigned that Judge
                                                                         17   White has issued his decision.
                                                                         18                 IT IS SO ORDERED.
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                                                                         20   Dated: June 17, 2010
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                                                                         21                                                               Maria-Elena James
                                                                                                                                          Chief United States Magistrate Judge
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